Case 1:21-cv-04424-DG-RLM Document 13 Filed 01/07/22 Page 1 of 1 PagelD #: 77

LAW OFFICES OF

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January 6, 2022

VIA ECF

The Honorable Diane Gujarati
United States District Court
Eastern District of New York
225 Cadman Plaza East
Courtroom 4B South

Brooklyn, New York 11201

Re: Aaron Ross v. Universal Health Services, Inc. et al.
Case No.: 1:21l-cev-4424

Dear Judge Gujarati:

In response to your January 4, 2022, Order this is to
advise that both Parties consent to this case being transferred
to the United States District Court for the District of Utah,
pursuant to 28 U.S. Code § 1406(a).

Respectfully submitted

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DANTEL W. IS 5

ec: Lewis Brisbois Bisgaard & Smith, LLP
